Case 4:07-cr-00038 Document 96 Filed on 03/09/07 in TXSD Page 1 of 6
Case 4:07-cr-00038 Document 96 Filed on 03/09/07 in TXSD Page 2 of 6
Case 4:07-cr-00038 Document 96 Filed on 03/09/07 in TXSD Page 3 of 6
Case 4:07-cr-00038 Document 96 Filed on 03/09/07 in TXSD Page 4 of 6
Case 4:07-cr-00038 Document 96 Filed on 03/09/07 in TXSD Page 5 of 6
Case 4:07-cr-00038 Document 96 Filed on 03/09/07 in TXSD Page 6 of 6
